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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                             MIDLAND/ODESSA DIVISION

ROGER RIVERA, individually and on
                             §
behalf of all others similarly situated;
                             §
                    Plaintiff,
                             §
                             §
v.                           §
                             §    Case No. 7:19-CV-0005-DC-RCG
LAREDO PETROLEUM, INC.,      §
            Defendant.       §
                             §
    REPORT AND RECOMMENDATION OF THE U.S. MAGISTRATE JUDGE

       BEFORE THE COURT is Plaintiff’s Motion to Strike Certain Affirmative Defenses

(Motion to Strike). (Doc. 11). This case is before the undersigned through an Order pursuant to

28 U.S.C. § 636 and Appendix C of the Local Court Rules for the Assignment of Duties to

United States Magistrate Judges. (Doc. 10). Based on the relevant filings and applicable law,

Plaintiff’s Motion to Strike should be DENIED WITHOUT PREJUDICE. (Doc. 11).

                                  I.      BACKGROUND

       This case is brought under the Fair Labor Standards (FLSA), 29 U.S.C. §§ 201, et seq.,

by Plaintiff Roger Rivera (Plaintiff), on behalf of himself and similarly situated current or former

employees of Defendant Laredo Petroleum, Inc. (Defendant). (Doc. 1). Plaintiff seeks unpaid

overtime wages plus liquidated damages, attorney fees, and costs. Id.

       Defendant filed its Original Answer on January 30, 2019, asserting numerous affirmative

defenses. (Doc. 6). On February 13, 2019, Plaintiff filed the instant Motion to Strike, arguing

that four of Defendant’s affirmative defenses were “insufficient as a matter of law.” (Doc. 11).

On March 1, 2019, Defendant filed an Amended Answer, providing further factual support of its

affirmative defenses. (Doc. 12). Also on March 1, 2019, Defendant filed a Response to the

Motion to Strike. (Doc. 13). On March 8, 2019, Plaintiff filed a Reply. (Doc. 15).
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                                 II.          LEGAL STANDARD

        Federal Rule of Civil Procedure 12(f) allows the Court to strike “from any pleading any

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R.

Civ. P. 12(f). “Although motions to strike a defense are generally disfavored, a Rule 12(f)

motion to dismiss a defense is proper when the defense is insufficient as a matter of law.” Kaiser

Aluminum & Chem. Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1057 (5th Cir. 1982).

The Court has broad discretion to determine whether the challenged matter should be stricken.

See In re Beef Indus. Antitrust Litig., 600 F.2d 1148, 1168 (5th Cir. 1979). The standard for

affirmative defenses is that they must contain “enough specificity or factual particularity to give

the plaintiff ‘fair notice’ of the defense that is being advanced.” Woodfield v. Bowman, 193 F.3d

354, 362 (5th Cir. 1999). Finally, a motion to strike “generally should not be granted absent a

showing of prejudice to the moving party.” Conn v. United States, 823 F. Supp. 2d 441, 446

(S.D. Miss. 2011); Stross v. Active Network, LLC, No. 1:19-CV-8-RP, 2019 WL 2213883, at *4

(W.D. Tex. May 5, 2019).

                                       III.     DISCUSSION

        Plaintiff moves to strike the following affirmative defenses: (1) unclean hands; (2)

waiver; (3) offset; and (4) failure to mitigate. (Doc. 11). Defendant argues that the additional

factual support provided in its Amended Answer renders the Motion to Strike moot or, in the

alternative, that it has alleged sufficient facts to support its defenses. (Doc. 13 at 1–2).

        A defendant must “plead an affirmative defense with enough specificity or factual

particularity to give the plaintiff ‘fair notice’ of the defense that is being advanced.” Stross, 2019

WL 2213883, at *4 (citing Rogers v. McDorman, 521 F.3d 381, 385 (5th Cir. 2008)). This “fair

notice” requirement is met “if the defendant sufficiently articulated the defense so that the



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plaintiff was not a victim of unfair surprise.” Woodfield, 193 F.3d at 362. Additionally, the Fifth

Circuit has found that in some cases, “merely pleading the name of the affirmative defense” is

enough. Id. Importantly, a motion to strike an affirmative defense will generally not be granted

absent a showing of prejudice to the moving party. Conn, 823 F. Supp. 2d at 446.

       Here, Plaintiff has shown no prejudice or unfair surprise resulting from the way in which

Defendant plead its affirmative defenses. See Conn, 823 F. Supp. 2d at 446; Stross, 2019 WL

2213883, at *4. The affirmative defenses at issue, particularly with the additional factual support

provided by Defendant in the Amended Answer, provide Plaintiff with fair notice and there is no

indication that they would submit Plaintiff to “unfair surprise.” Woodfield, 193 F.3d at 362

       Additionally, Plaintiff argues in his Reply that Defendant has “essentially” asserted a

counterclaim for fraud based on Defendant’s allegation that Plaintiff submitted false or inflated

invoices to Defendant. (Doc. 15 at 2–3). Plaintiff claims that because Defendant is essentially

asserting a counterclaim for fraud, Defendant was obligated to plead with heightened

particularity. Id. The Court should find that Defendant’s assertions regarding Plaintiff submitting

false or inflated invoices do not constitute a counterclaim for fraud and, because Plaintiff has

failed to show any prejudice, should not be the basis to strike any defenses from the Amended

Answer.

       For these reasons, the Court should deny without prejudice Plaintiff’s Motion to Strike.

(Doc. 11). However, if Defendant’s failure to sufficiently articulate a particular defense later

results in prejudice, the Court should allow Plaintiff to resubmit his motion to strike that defense.

For now, the Court should deny the motion without prejudice.

                                IV.    RECOMMENDATION




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       For the aforementioned reasons, it is RECOMMENDED that Plaintiff’s Motion to Strike

be DENIED WITHOUT PREJUDICE. (Doc. 11).



           INSTRUCTIONS FOR SERVICE AND NOTICE OF RIGHT TO APPEAL/OBJECT

       In the event that a party has not been served by the Clerk with this Report and

Recommendation electronically, pursuant to the CM/ECF procedures of this District, the Clerk is

ORDERED to mail such party a copy of this Report and Recommendation by certified mail.

Pursuant to 28 U.S.C. § 636(b)(1), any party who desires to object to this report must serve and

file written objections within fourteen (14) days after being served with a copy. A party filing

objections must specifically identify those findings, conclusions, or recommendations to which

objections are being made; the District Judge need not consider frivolous, conclusive, or general

objections. Such party shall file the objections with the Clerk of the Court and serve the

objections on all other parties. A party’s failure to file such objections to the proposed findings,

conclusions, and recommendations contained in this report shall bar the party from a de novo

determination by the District Judge. Additionally, a party’s failure to file written objections to

the proposed findings, conclusions, and recommendations contained in this report within

fourteen (14) days after being served with a copy shall bar that party, except upon grounds of

plain error, from attacking on appeal the unobjected-to proposed factual findings and legal

conclusions accepted by the District Judge. Douglass v. United Services Auto. Ass’n, 79 F.3d

1415, 1428–29 (5th Cir. 1996).

       SIGNED this 15th day of August, 2019.



                                              RONALD C. GRIFFIN
                                              UNITED STATES MAGISTRATE JUDGE


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